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EXHIBIT F

Affidavit of Robert Cohen
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_ AFFIDAVIT

My name is Robert Cohen and I am the founder of the Law Offices of Robert M. Cohen
in Beverly Hills, California, My practice involves complex and high asset property distribution,
child custody and divorce matters, Iam a mediator and have served as a family law expert and
taught as a law professor at Pepperdine Law School, I have also served as a Judge Pro Tem in
both the Beverly Hills and Los Angeles Municipal Courts. [received my A.B. from Boston
University and L.L.B from Boston University. I am licensed to practice law in California.

Imet Vernon Maxell when he was in the 12" grade of High School at Verbum Dei High
School in Los Angeles in the late 1970s, He was an exceptional football talent, receiving an
athletic scholarship to Arizona State University, where he excelled as a linebacker. During his
time at Arizona State, Vernon Maxwell set school records for sacks which ultimately led him to
be drafted as the first pick in the second round by the Baltimore Colts in the 1983 draft.

I was Vernon Maxwell’s agent and advisor throughout his seven years in the NFL. His
talent was recognized through the award of the NFL Defensive Rookie of the year. Vernon
Maxwell was a leader on and off the football field through his actions and words.

[have remained a close adviser and friend of Vernon Maxwell over the years. Along
with his former teammate, Broderick “Rick” Jones, they became intimately involved as
advocates in the fight against the NFL relating to head trauma, They were both communicating
with Alan Schwartz of the NY Times for years while he was investigating the NFL’s hidden
brain injury controversy.

They both educated themselves with the research surrounding the NFL’s cover-up of
concussions, They learned of other players’ struggles with symptoms including memory loss,
depression and anxiety which they shared in common. Over time, I became very impressed with
Vernon Maxwell’s understanding of the medical issues regarding causation of concussions and
symptoms therefrom, and his concern regarding the number of players that appeared to have
concussion symptoms.

They came to me around 2010 seeking advice on how to explore a legal case on their
behalf involving the NFL’s mismanagement of their long-term health when they played. On
their behalf, I spoke with some prominent class action lawyers around the country, All of the
lawyers advised me that they had reservations about the legal theories and the individually
distinct nature of the injuries, claiming that the cases could not be brought as a class action.

In early 2011, Vernon Maxwell told me that he and Rick Jones were introduced to Jason
Luckasevic, a young and highly skilled attorney, by Dr, Bennet Omalu. I was soon thereafter
introduced to Jason Luckasevic by Vernon Maxwell. [learned of Jason Luckasevic’s plans to
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file a lawsuit on behalf of dozens of former players for the NFL’s fraud and negligence to the
former players on handling head injuries, No one was able to quite capture how football was
causative of their later life cognitive and functional problems, But, Jason Luckasevic was able to
do that based on his experience of having handled asbestos disease cases with similar latent
injuries, I later learned that Jason Luckasevic had formed a team of powerful litigators,
including Tom Girardi, with whom I am very familiar, as his office is in Los Angeles, Tom
Girardi is a senior partner at one of Southern California’s premier Plaintiff's Attorney law firms,
and is one of the foremost trial attorneys not only in Southern California, but in the United
States,

During those months, I worked with Jason Luckasevic, Vernon Maxwell and Rick Jones
in the investigation of similarly injured former players whose claims were added to the
Complaint drafted by Jason Luckasevic.

On July 19, 2011, they filed the first lawsuit seeking individual benefits for personal
chronic brain injuries suffered by former players against the NFL and Riddell, That August, a
second lawsuit was filed on behalf of many more dozens of players claiming similar injuries.

I can personally attest that during 2011, I spent between 300 and 500 hours working with
Jason Luckasevic, Vernon Maxwell and Rick Jones to make this lawsuit a success reviewing the
claims of injured former NFL players, J believe that after filing the first two lawsuits, it gained
momentum due to the large number of former playets filing suit and Jason Luckasevic’s
formidable litigation team.

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Ultimately, many lawyers copied Jason Luckasevic’s Complaints to file lawsuit for their
clients using his work, As I understand it from keeping track of the litigation, there have been no
new legal claims or factual allegations advanced since the efforts of Jason Luckasevic and his
original Complaints, Jason Luckasevic is a young litigator with a passion, idea, imagination and
an undeterred effort to make this case a reality for the struggling former players, Most
importantly, based upon my many conversations with Jason, Vernon and others, I believe that
Mr. Luckasevic has integrity and is credible, But for Jason’s efforts, there would never have been
the “NFL Concussion Litigation.”

Further this Affiant sayeth naught.

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Robert MNCohen
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ACKNOWLEDGMENT

A notary public or other officer completing this
certificate verifies only the identity of the individual
who signed the document to which this certificate is
attached, and not the truthfulness, accuracy, or
validity of that document.

State of California
County of Kos Higa les )

On A agus T Is, 20 /¢, _ before me, Deporad Haze KL ager. Q WelTAey
og (insert name and title Of the officer) (2. Yer,

personally appeared. ‘Ko Beer M, CoHtey
who proved to me on the basis of satisfactory evidence to be the person(s) whose name(s) is/are
subscribed to the within instrument and acknowledged to me that he/she/they executed the same in
his/her/their authorized capacity(les), and that by his/her/their signature(s) on the instrument the
person(s), or the entity upon behalf of which the person(s) acted, executed the instrument.

| certify under PENALTY OF PERJURY under the laws of the State of California that the foregoing
paragraph is true and correct.

WITNESS my hand and official seal.

Signature d / Lely Chey Ci gene (Seal)

